     Case 3:18-cv-01374-L-AGS Document 1 Filed 06/21/18 PageID.1 Page 1 of 55




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 9                        UNITED STATES DISTRICT COURT
10                      SOUTHERN DISTRICT OF CALIFORNIA
11 RICHARD BARTLETT AND                     )   Case No. '18CV1374 BEN NLS
   KRISTINE SNYDER, on Behalf of            )
12 Themselves and All Others Similarly      )   CLASS ACTION
13 Situated,                                )
                                            )   COMPLAINT FOR VIOLATIONS OF
14                            Plaintiffs,   )   CALIFORNIA'S CARTWRIGHT ACT
                                            )   AND UNFAIR COMPETITION LAW
15          v.                              )
16                                          )
      BP WEST COAST PRODUCTS                )
17    LLC; CHEVRON U.S.A. INC.,             )
      TESORO REFINING &                     )
18    MARKETING COMPANY LLC,                )
      EQUILON ENTERPRISES LLC,              )
19    EXXON MOBIL CORPORATION,              )
20    VALERO MARKETING AND                  )
      SUPPLY COMPANY,                       )
21    CONOCOPHILLIPS, ALON USA              )
      ENERGY, INC., and DOES 1-25,          )
22    Inclusive,                            )
23                                          )
                              Defendants.   )
24                                          )   DEMAND FOR JURY TRIAL
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     Case 3:18-cv-01374-L-AGS Document 1 Filed 06/21/18 PageID.2 Page 2 of 55




 1         Plaintiffs Richard Bartlett and Kristine Snyder ("Plaintiffs") hereby bring this
 2 action for damages and other relief against defendants BP West Coast Products

 3 LLC ("BP West"), Chevron U.S.A. Inc. ("Chevron"), Tesoro Refining &

 4 Marketing Company LLC ("Tesoro"), Equilon Enterprises LLC (d/b/a Shell Oil

 5 Products US) ("Shell"), Exxon Mobil Corporation ("ExxonMobil"), Valero

 6 Marketing and Supply Company ("Valero"); ConocoPhillips ("Phillips"), and Alon

 7 USA Energy, Inc. ("Alon") (collectively, "Defendants"), for violations of

 8 California's Cartwright Act (California Business & Professions Code §16700, et

 9 seq.) and California Unfair Competition Law ("UCL") (Cal. Bus. & Prof. Code

10 §17200, et seq.).     Plaintiffs make all allegations upon information and belief
11 except as to those paragraphs that are based on their own personal knowledge.

12                                   INTRODUCTION
13         1.    This action concerns Defendants' illegal conspiracy to manipulate and
14 maintain the prices of gasoline in California at supracompetitive prices.           In
15 particular, Defendants, gasoline refiners, have used their market leverage to keep

16 gasoline prices in California well above the U.S. average, reaching a peak of $1.50

17 per gallon above the national average in Southern California in 2015. Californians

18 consume forty million gallons of gas a day. According to some reports, as a result,
19 Californians paid more than $10 billion extra at the pump compared to other drivers

20 in the United States. At the same time, Defendants' profits from their California

21 refineries reached obscene levels.

22         2.    The oil industry blamed the 2015 jump in oil price on an explosion that
23 occurred in February 2015, at a refinery in Torrance, California. However, even

24 after the Torrance refinery came back online, Californians have continued to pay an

25 unexplained surcharge for their gasoline (even after taking into account California's

26 taxes and other unique aspects). In fact, while fuel prices fluctuate, Californians
27 have, on average, paid a premium at the pump in every month since the Torrance

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                                             -1-
     Case 3:18-cv-01374-L-AGS Document 1 Filed 06/21/18 PageID.3 Page 3 of 55




 1 refinery explosion over three years ago.

 2         3.     The 2015 spike was not the first time that California's gasoline prices
 3 moved drastically out of line with the national average. In early 2012, the crude

 4 oil markets experienced a combination of rising production, falling demand, and

 5 increasing inventories.     Despite these market forces which would suggest the
 6 opposite, California gas prices increased substantially.    In particular, in May and
 7 October of 2012, California saw two massive gasoline price spikes, resulting in

 8 California consumers paying more than $4 a gallon—and in some areas more than

 9 $5 a gallon.     These spikes occurred while the rest of the country experienced a
10 decline in gas prices.

11         4.     The refineries blamed the increased prices on decreased supply because
12 of a fire at a Washington state BP West refinery and other maintenance shutdowns in

13 California. The evidence, however, did not to support that theory.

14         5.     Because the market is so concentrated, the West Coast is highly
15 sensitive to fluctuations in supply, and primed for manipulation. As a June 5, 2012

16 report by McCullough Research explained, in such a highly concentrated industry,

17 "a single actor or a very few actors acting together can set the price in the market."

18 After the fire at the Washington plant, the degree of market concentration increased
19 significantly.    With the market so concentrated, the timing of the various
20 unscheduled maintenance shutdowns in the California refineries in early 2012

21 became suspect. "In a competitive market, maintenance would have been delayed to

22 take advantage of the rising West Coast prices."

23         6.     Another report issued on November 15, 2012 by McCullough Research
24 (the "McCullough Report"), concluded that during the May and October spikes there

25 were market anomalies present, and that during those two periods, gas refiners in

26 California were seeing an "enormous windfall profit." Further, the McCullough
27 Report determined that in both the May and October spikes, "the underlying data

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                                              -2-
     Case 3:18-cv-01374-L-AGS Document 1 Filed 06/21/18 PageID.4 Page 4 of 55




 1 now available contradicts the industry explanations."

 2          7.    Data from the U.S. Energy Information Administration ("EIA") during
 3 that time showed that the refineries serving West Coast states had the capacity on

 4 hand to meet significant shortfalls, such as one caused by a fire or a shutdown

 5 because of unscheduled maintenance.

 6          8.    In addition, Defendants had access to addition fuel reserves through, for
 7 example, fuel tanker capacity. Rather than provide California with this supposedly

 8 much needed gasoline, Defendants shipped gasoline out of California and allowed

 9 other tankers to idle unused.

10          9.    The reason for the spikes in gasoline prices is now evident. The fire
11 and shutdowns were cover for the refiners' scheme to create a false impression of a

12 shortage in order to force prices up and reap windfall profits. Accordingly, Plaintiffs

13 now bring this action on behalf of the retail purchasers of gasoline in California,

14 those that were most hurt by Defendants' illegal actions.

15                                   THE CONSPIRACY
16          10.   For years Californians have seen spikes in gasoline prices, seemingly
17 untethered to normal market forces of supply and demand, and an average price per

18 gallon substantially above the national average. An analysis of the now available
19 data shows that this increased gas prices were not the result of California's market

20 structure, but instead are the result of Defendants' anticompetitive conduct.

21 The May and October 2012 Price Spikes

22          11.   In May 2012, California, Oregon, and Washington were hit with
23 significant spikes in the price of gasoline. Refiners blamed the May spike on the

24 February 18, 2012 fire at the Cherry Point refinery in Washington state.           This
25 excuse made little sense due to the length of time between the fire and the price

26 spike.
27

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     Case 3:18-cv-01374-L-AGS Document 1 Filed 06/21/18 PageID.5 Page 5 of 55




 1          12.    Refiners also claimed that maintenance shutdowns caused the decrease
 2 in supply and increase in price.        These shutdowns, however, were particularly
 3 suspicious. In fact, in a short window of less than four weeks between April 20 and

 4 May 15, defendants Alon, Shell, Tesoro, Chevron, and BP West each scheduled a

 5 shutdown of their refineries for maintenance.            As detailed below, however,
 6 emissions data showed that certain of these refineries appeared to continue to

 7 operate.

 8          13.    Then, in August 2012, gasoline prices spiked again. This time, refiners
 9 blamed the spike on an August 6, 2012 fire at Chevron's Richmond, California,

10 refinery.      Again, the excuse made no sense in light of the fact that inventories
11 actually increased up to and during the price spikes. In a trust competitive market
                                                                                        1
12 governed by supply and demand, an increase in supplies would drive down prices.

13          14.    Chevron later agreed to pay $2 million in fines and restitution, and
14 pleaded no contest to charges filed by the Attorney General and District Attorney in

15 connection with the fire.      The charges included failing to correct deficiencies in
16 equipment and failing to require the use of certain equipment to protect employees

17 from potential harm. This was a first of a series of fines against Defendants over

18 readily noticeable defects that led to refinery shutdowns.
19          15.    In October 2012, the price of gas again spiked on rumors of a gasoline
20 shortage.      The California Energy Commission later claimed that a minor plant
21 problem at ExxonMobil's Torrance refinery was to blame for the increase in

22 wholesale prices.       Again, the facts belie this explanation.      In particular, the
23 wholesale price began spiking before the Torrance refinery's issues were publicly

24

25    1
    The November 15, 2012 McCullough Report noted that "[t]he argument that the
26 price spikes on the West Coast are caused by supply shortages is contradicted by the
27
      increasing gasoline inventories during the period of extraordinary prices."

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     Case 3:18-cv-01374-L-AGS Document 1 Filed 06/21/18 PageID.6 Page 6 of 55




 1 announced and jumped $0.35 per gallon within forty-five minutes of the first

 2 substantive coverage by the media.      In contrast, the twenty-seven other similar
 3 events in 2012 that occurred at the Torrance facility did not create increases

 4 anywhere near those that occurred in October 2012. Further, Southern California

 5 Edison said there was barely any change in the electrical flow on October 1, 2012.

 6         16.   The evidence also indicates that the major oil companies likely had
 7 advance notice that ExxonMobil would report problems with its Torrance refinery in

 8 October 2012. According to the McCullough Research's July 2013 report (the "2013

 9 McCullough Report"), after the Torrance facility "flare" on October 1, 2012, "all the

10 majors came out and bought." The major oil companies would not have bought in

11 the open market based on the information available at the time in the marketplace,

12 which indicated only a minor problem at the plant. Instead, this run up would have

13 happened only if ExxonMobil informed its competitors of operating problems, prior

14 to informing the regulators and media. Additionally, the nitrogen oxide ("NOx")

15 emissions data does not support evidence of a full plant closure, and press releases

16 by the company overstating the problem.

17         17.   Consumer Watchdog said that the report raises the specter of
18 "criminal conduct" "reminiscent of the Enron-like manipulation of the California
19 energy market."     Ronald D. White, Consumer advocates say refineries may have
20 falsified information, L.A. Times (Nov. 16, 2012), available at la-fi-mo-call-for-

21 investigation-20121116.

22         18.   The following table details the suspicious plant closings in 2012, while
23 the price of gasoline spiked, and maintained high levels compared to the rest of the

24 country:

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     Case 3:18-cv-01374-L-AGS Document 1 Filed 06/21/18 PageID.7 Page 7 of 55



          Date     Company     Refinery      Amount of       Type of    Claimed Reason      Industry Sources
 1                                           Statewide       Outage
                                              Capacity
 2
       2/17/12   BP          Cherry Point,   20%            Unplanned   Fire             The May price spike
                             WA                                                          was blamed on the
 3                                                                                       outage at Cherry
                                                                                         Point, the third largest
 4                                                                                       refinery on the West
                                                                                         Coast. The early May
 5                                                                                       restart encountered
                                                                                         problems and was
 6                                                                                       halted. Ultimately,
                                                                                         this refinery reopened
 7                                                                                       on May 31 after
                                                                                         repairs and
 8                                                                                       maintenance were
                                                                                         completed.
 9
       4/20/12   Alon        Bakersfield     3.2%           Planned     Hydrocracker      No information
10                                                                      restarted.

       4/27/12   Shell       Martinez        7.62%          Planned     Maintenance      Shell claimed that the
11                                                                                       refinery was shut
                                                                                         down until May 16,
12                                                                                       2012, yet NOx
                                                                                         emissions data show
13                                                                                       that the refinery in
                                                                                         fact started operating
14                                                                                       again sometime
                                                                                         between
15                                                                                       May 6 and May 11,
                                                                                         2012.
16     5/2/12    Tesoro      Martinez        8.70%       Planned        Hydrocracker      No information
                                                                        restarted.
17
       5/12/12   Chevron     Richmond        12.90%      Planned        Seasonal         Blamed for May price
18                                                                      maintenance      spike along with BP’s
                                                                                         Cherry Point refinery
19                                                                                       outage in February.
                                                                                         Chevron announced
20                                                                                       that it would be taken
                                                                                         offline from May 12
21                                                                                       to May 26, but the
                                                                                         NOx emissions data
22                                                                                       show otherwise during
                                                                                         that period.
23     5/15/12   BP          Carson          12.96%      Planned        Planned          BP reported in a filing
                                                                        Flaring          with state pollution
24                                                                                       regulators on May 15
                                                                                         a planned flaring
25                                                                                       scheduled to take
                                                                                         place from May 15-
26                                                                                       21.

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     Case 3:18-cv-01374-L-AGS Document 1 Filed 06/21/18 PageID.8 Page 8 of 55



       8/6/12         Chevron      Richmond   12.90%     Unplanned   Fire            After a fire, Chevron
 1                                                                                   shut down its
                                                                                     Richmond refinery,
 2                                                                                   the largest refinery in
                                                                                     the state. The refinery
 3                                                                                   remained offline for
                                                                                     several months,
 4                                                                                   operating at 60%
                                                                                     capacity. A Chevron
 5                                                                                   spokesperson said the
                                                                                     fire was one factor
 6                                                                                   that caused the price
                                                                                     increase in August
 7                                                                                   among others,
                                                                                     including the price of
                                                                                     crude oil. However,
 8
                                                                                     data collected by the
                                                                                     California Energy
 9                                                                                   Commission showed
                                                                                     that increased
10                                                                                   production at other
                                                                                     refineries more than
11                                                                                   made up for the
                                                                                     Richmond loss.
12                                                                                   Chevron agreed to pay
                                                                                     $2 million in fines and
13                                                                                   restitution and pleaded
                                                                                     no contest to six
14                                                                                   charges in connection
                                                                                     with the fire.
15
       10/1/12        ExxonMobil   Torrance   7.8%       Unplanned   Power failure   This outage was
16                                                                                   blamed for the
                                                                                     October price spike,
17                                                                                   yet the price began
                                                                                     spiking prior to its
18                                                                                   public release,
                                                                                     indicating that other
                                                                                     oil companies had
19
                                                                                     advance, secret notice.
                                                                                     The shutdown lasted
20                                                                                   four days. Although
                                                                                     Exxon claimed there
21                                                                                   was a disruption in
                                                                                     power, Southern
22                                                                                   California Edison said
                                                                                     there was barely a blip
23                                                                                   in the electrical flow
                                                                                     that day.
24

25              19.     The refineries' explanation for the price spikes is not consistent with
26 the principles of supply and demand, and is inconsistent with the structure of the
27 industry.          The California refinery system as a whole had plenty of stock and
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     Case 3:18-cv-01374-L-AGS Document 1 Filed 06/21/18 PageID.9 Page 9 of 55




 1 capacity to manage several plant shutdowns.       Refineries' production schedules
 2 are not perfectly matched to changes in seasonal demand—gas sales peak in the

 3 summer months, while gas production is relatively flat over the year, with a dip in

 4 February. Typically, the market has adjusted smoothly to the seasonal factors and

 5 gas prices remain stable (tracking the cost of crude and other inputs) even when

 6 sales exceed production, with the price spikes in 2012 being exceptions.

 7         20.   Analysts have been skeptical of the industry's justifications for the
 8 radical price increases, with some speculating that the companies are artificially

 9 increasing pump prices.    See Joseph Rose, Oregon, Washington Gas Prices Face
10 'Prolonged Period' of Increases After Chevron Refinery Fire, The Oregonian

11 (Aug.     21, 2012), available at http://blog.oregonlive.com/commuting/2012/08/
12 Oregon_washington_gas_prces_f.html.

13         21.   Despite widespread public calls for an explanation for the spikes, no
14 economically sensible explanation has yet been given

15         22.   Irregularities in Defendants' record keeping bring into doubt the
16 accuracy and reliability of the maintenance and outage reports provided by the

17 refineries to California. Take for example the Richmond refinery. Data tracking

18 the Richmond refinery's FCC and TKC (measurable components of the gas oil
19 processing at the refinery) demonstrate that the Richmond refinery was in fact

20 still emitting mono-NOx during this period of "closure."2     These inconsistencies
21 bring into doubt the accuracy and reliability of the maintenance and outage reports

22 provided by the refineries to California.   Similarly, Shell's Martinez, California,
23
      2
24   During other cases of market manipulation in California, announcements by power
   producers about plant outages "have been discovered to be intentionally unreliable."
25 See United States v. Reliant Energy Servs., Inc., No. 04-cr-125, Indictment (N.D.

26 Cal. Apr. 8, 2004) (Dkt. No. 1) at 5 (where Reliant was charged with disseminating
   false and misleading rumors and information about the availability and maintenance
27 status of the defendant's power plants).

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                                           -8-
 Case 3:18-cv-01374-L-AGS Document 1 Filed 06/21/18 PageID.10 Page 10 of 55




 1 refinery reported a shutdown from April 27 to May 16, 2012, but the emissions data

 2 indicates that the refinery started operating sometime between May 6 and May 11,

 3 2012.

 4         23.   In October 2012, prices were $0.66 per gallon higher than they would
 5 be normally, given the historical patterns of oil prices and gas inventories. The past

 6 sales for the month of October have averaged more than one billion gallons per

 7 month. If the historical averages held, and the numbers were adjusted for variations

 8 in the market for fixed costs, this would mean that Defendants received windfall

 9 profits of about $25 million a day from the Class (as defined herein). Using the

10 same overcharge calculation, the members of the Class paid approximately $1.3

11 billion more at the pump during the May 2012 price spike, than they should have

12 absent the Defendants' conduct.

13         24.   This windfall is supported by historical data.    See Jamie Court &
14 Liza Tucker, New Report: Oil Refiners' Profits Spike With Gasoline Price Spikes,

15 Consumer Watchdog (May 5, 2015), available at http://www.consumerwatchdog.

16 org /newsrelease/new-report-oil-refiners%E2%80%99- profits-spike-gasoline-price-

17 spikes (finding that profits for Tesoro and Valero were "twice as high as the

18 refiners' average quarterly profit in quarters where gasoline prices spiked"); id.
19 (quoting a Chevron General Manager, who stated: "Margins increased earnings by

20 $435 million driven by unplanned industry downtime and tight product supply on

21 the US West Coast.").

22         25.   Below is a chart from the McCullough Report comparing actual retail
23 gas prices to forecasted retail prices:

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 Case 3:18-cv-01374-L-AGS Document 1 Filed 06/21/18 PageID.11 Page 11 of 55




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11       26.    Not surprisingly, the Western States Petroleum Association
12 ("WSPA"), an industry group made up of the Defendants, among others, issued

13 a critique of the McCullough Report. In response, McCullough Research issued

14 a rebuttal (the "McCullough Rebuttal"), noting that the WSPA's report "does not

15 offer an explanation for the price spikes, nor does it perform any analyses that

16 would justify its opinions."       Further, the McCullough Rebuttal noted that
17 "WSPA's response provides no explanation, additional data, or statistical

18 analyses for the price spikes in May and October 2012. Its proposed variable
19 changes are neither substantive nor explanatory."       Moreover, McCullough
20 Research noted that based on its "experience with Enron, we suggest that

21 erroneous information in the media can be a form of market manipulation....

22 Since little information is available on refinery operations, an erroneous press

23 release may have significant impacts on market prices... [T]here is evidence that

24 this was a factor in both May and October 2012."

25 Details of the 2015 Price Spikes

26       27.    Like the 2012 spikes, a series of suspicious refinery closures and
27 slowdowns preceded the 2015 spikes in California gas prices, defying input costs.

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 Case 3:18-cv-01374-L-AGS Document 1 Filed 06/21/18 PageID.12 Page 12 of 55




 1 On February 2, 2015, Tesoro shut down its Martinez refinery in the face of a

 2 steelworkers' strike, citing "safety" reasons, rather than allowing it to run at less than

 3 full capacity during planned maintenance.

 4        28.    Defendants told the investors a much different story than the general
 5 public in California. Despite the strike, Tesoro Chief Executive Officer ("CEO")

 6 Geoff Goff told investors that the company could continue to operate refineries

 7 indefinitely, with reduced staffing levels. Tesoro's CEO stated, "And we feel very

 8 comfortable that we can continue on running with the staffing levels we have, the

 9 trained and experience people have operating the refineries for – and it's a very long

10 period of time."

11        29.    The use of refinery outages to drive price spikes continued throughout
12 2015. As the Los Angeles Times reported on December 21, 2015:

13        While motorists nationwide are enjoying gas at $1.99, the L.A.
14        average climbed to $2.87 and could continue rising as delays plague
          repairs at Exxon Mobil's Torrance plant, which has been operating at
15        less than 20% capacity since a February explosion. The statewide
16        average was $2.72.
17        The plant was expected to return to full service by mid-February. But
18        now the latest projections are that repairs will not be completed until
          as late as April 1.
19
          In addition, Tesoro's Carson refinery and Chevron's El Segundo site
20
          reported unplanned outages, as well as maintenance downtime, within
21        the last month. Compounding the problem is an unplanned outage at
          Chevron's Richmond plant in Northern California and a storm-
22
          damaged Tesoro plant in Anacortes, Wash.
23
          Gordon Schremp, a senior fuels analyst for the California Energy
24        Commission, said in all, about 30% of the state's refining capacity is
25        offline.

26        "In a phrase," Schremp said, "chronic refinery problems continue,
          unfortunately."
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 Case 3:18-cv-01374-L-AGS Document 1 Filed 06/21/18 PageID.13 Page 13 of 55




 1        30.    Then, on February 18, 2015, ExxonMobil shut down its Torrance
 2 refinery after a supposed explosion. This Torrance refinery supplies approximately

 3 10% of California's gasoline.

 4        31.    The shutdown at ExxonMobil's only California refinery in February
 5 2015 reduced gas supply in Southern California and depleted the state's already-

 6 short reserves.    Further, according to industry insiders, refinery maintenance
 7 schedules were inexplicably moved forward despite an apparent lack of supply.

 8        32.    The Torrance fire is particularly suspicious. After investigating the
 9 Torrance refinery in the wake of its closure, the Division of Occupational Safety and

10 Health (DOSH) (hereafter, "Cal/OSHA") fined ExxonMobil $566,600 for nineteen

11 workplace health and safety violations, six of which were determined to be willful.

12 On August 13, 2015, Cal/OSHA issued a press release stating that, "Six of these

13 serious violations were also classified as willful because Cal/OSHA found that

14 Exxon did not take action to eliminate known hazardous conditions at the refinery

15 and intentionally failed to comply with state safety standards."

16        33.    An August 13, 2015 article in the DailyBreeze described the egregious
17 and willful lapses at the Torrance refinery and the results of the Cal/OSHA

18 investigation as follows:
19        Officials with the state Department of Industrial Relations said the
20        "investigation revealed severe lapses in Exxon's safety protocols."
          "It's pretty rare for a compliance officer to issue one willful citation,
21        let alone six willful citations," said Clyde Trombettas, who heads up
22        the department's process safety management unit, which is responsible
          for inspecting chemical plants and refineries in California.
23

24        "An employer has to be pretty egregious for us to do something like
          that," he added. "It's trying to send a message that we need to take
25
          these things seriously."
26
27        Indeed, the unusual number of serious citations appears to have
          prompted the county District's Attorney's Office to request copies of
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 Case 3:18-cv-01374-L-AGS Document 1 Filed 06/21/18 PageID.14 Page 14 of 55




 1
          the citations for possible criminal prosecution, Trombettas said.

 2        A spokeswoman for the district attorney noted that the agency does
 3        not usually confirm the initiation of criminal investigations; she then
          declined comment.
 4

 5        But the CAL/OSHA announcement revealed stunning and deliberate
          lapses in fixing potentially dangerous conditions. CAL/OSHA said
 6
          Thursday the blast was due to a release of hydrocarbons from the
 7        refinery's fluid catalytic cracker unit into its electrostatic precipitator.
 8
          The hydrocarbons ignited and caused the explosion that injured four
 9        workers and hurled debris and contamination over a wide area of
          Torrance.
10

11        34.    As to refinery shutdowns and capacity reductions, memos from West
12 Coast oil refiners from the 1990s and released in 2011 by Senator Ron Wyden

13 (D. Or.), suggest that the practice of reducing capacity is a deliberate business

14 strategy that has been employed by the refineries for a number of years. An internal

15 Chevron memo, for example, stated: "A senior energy analyst at the recent API

16 [American Petroleum Institute] convention warned that if the U.S. petroleum

17 industry doesn't reduce its refining capacity, it will never see any substantial increase

18 in refinery margins."
19        35.    A May 21, 2015 letter from Jamie Court, Liza Tucker, and Cody
20 Rosenfield, to a number of western state attorneys general noted:

21        Since the beginning of February, California's fourteen oil refineries
22        have suffered ten serious slowdowns or shutdowns, many due to
          questionable causes or timing. The timing of these overlapping
23        outages raises questions about their true necessity, and about whether
24        some refinery capacity may have been taken off line in order to drive
          up prices and profits for oil refiners at [a] time when some of their
25
          crude operations have been yielding less profits.
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 Case 3:18-cv-01374-L-AGS Document 1 Filed 06/21/18 PageID.15 Page 15 of 55




 1        36.     The following table details the recent suspicious plant closings:
 2     Date      Company     Refinery   Amount     Type of        Claimed         Industry Sources
                                           of      Outage         Reason
 3                                      Statewid
     2/2/2015   Tesoro     Martinez         e
                                        8.70%      Unplanned   Tesoro said it    Refineries can run
 4                                      Capacit
                                                               would close       without a full staff
                                            y                                    once operations
 5                                                             its Martinez
                                                               refinery in the   are well under
                                                                                 way. Weeks later
 6                                                             face of a
                                                                                 Tesoro's CEO,
                                                               steelworkers'
                                                                                 Geoff Goff, told
 7                                                             strike for        investors that the
                                                               "safety"          company could
 8                                                             reasons.          continue to
                                                                                 operate its
 9                                                                               refineries
                                                                                 indefinitely with
10                                                                               reduced staffing
                                                                                 levels despite the
11                                                                               strike.
                                                                                 Steelworkers
12                                                                               complained that
                                                                                 management
13                                                                               increasingly used
                                                                                 contract workers to
14                                                                               run refineries.
                                                                                 They would have
15                                                                               also been
                                                                                 available to run the
16                                                                               Martinez facility,
                                                                                 raising questions
                                                                                 about the "safety"
17                                                                               reason for full
                                                                                 closure of
18                                                                               Martinez.
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 Case 3:18-cv-01374-L-AGS Document 1 Filed 06/21/18 PageID.16 Page 16 of 55



     2/18/2015 ExxonMobil   Torrance   7.80%       Unplanned An "incident"    Major explosion
 1                                                           on the           and fire blew off
                                                             Torrance         sections of a 12-
 2                                                           refinery's       story electrostatic
                                                             premises.        precipitator that
 3
                                                                              cuts pollution.
 4                                                                            Industry sources
                                                                              said the refinery
 5                                                                            had made
                                                                              operating errors
 6                                                                            that led to the
                                                                              accident and that
 7                                                                            the refinery will
                                                                              not come back on
 8                                                                            line again until
                                                                              July or August.
 9                                                                            Company
                                                                              reputedly may not
10                                                                            bring facility back
                                                                              on line at all, or
11
                                                                              close it down
12                                                                            completely. That
                                                                              would further
13                                                                            reduce the state's
                                                                              refining capacity.
14   4/17/2015 Tesoro       Martinez   8.70%       Unplanned Never publicly   A fire prompted a
                                                             disclosed.       shutdown of a gas
15                                                                            oil hydrotreater for
                                                                              several days.
16
     4/21/2015 Chevron      Richmond   12.90%      Unplanned Chevron          No information.
17                                                           notifies local
                                                             officials of the
18                                                           shutdown of an
                                                             unspecified
19                                                           unit and said
                                                             flaring was part
20                                                           of "normal
                                                             refinery
21

22
     4/21/2015 Tesoro       Martinez   8.70%       Unplanned Never            Offline temporarily
23                                                           disclosed.       due to "operational
                                                                              glitches."
24

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 Case 3:18-cv-01374-L-AGS Document 1 Filed 06/21/18 PageID.17 Page 17 of 55



     4/23/2015 Chevron    El Segundo 14.50%       Planned    Company          Chevron reportedly
 1                                                           would not        had an "unplanned"
                                                             comment          problem with one
 2                                                                            reformer unit and
                                                                              moved up planned
 3                                                                            maintenance
                                                                              schedule. The
 4                                                                            outage will last until
                                                                              at least mid-June
 5                                                                            and could include an
                                                                              unknown number of
 6                                                                            other units. The
                                                                              necessity of the
 7                                                                            maintenance and
                                                                              how much capacity
 8                                                                            is or will be affected
                                                                              is unclear.
 9   5/9/2015   Tesoro    Martinez     8/70%      Unplanned Never             Two compressors
                                                            disclosed         out on May 9 and 10
10
     5/13/2015 Phillips   Wilmington   7/30%      Planned    None; would      Work may focus on
11                                                           not identify     hydrocracker used
                                                             units.           for diesel production,
12                                                                            which was
                                                                              scheduled to have
                                                                              maintenance in
13
                                                                              June. Unclear if
                                                                              related to the failure
14                                                                            of a nearby
                                                                              hydrogen plant that
15                                                                            supplies this
                                                                              blending component.
16                                                                            No information about
                                                                              effect on production
17                                                                            output.

18   5/18/2015 Phillips   San          4.10%      Unplanned Phillips 66       Flaring triggered by
                          Francisco                         does not          unplanned
19                                                          reveal            breakdown. Effect
                                                            reasons, but      on production output
20                                                          states            unknown.
                                                            operations
21
                                                            continue
22   5/19/2015 Tesoro     Martinez     8.70%      Unplanned Declined to       No information
                                                            identify unit
23                                                          involved, said
                                                            only that plant
24                                                          operations
                                                            continue
25

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 Case 3:18-cv-01374-L-AGS Document 1 Filed 06/21/18 PageID.18 Page 18 of 55



                 Tesoro      Carson     12.60%      Planned   Never         Due to planned
 1   5/19/2015                                                disclosed     maintenance on a
                                                                            hydrotreater.
 2                                                                          Company set to
                                                                            perform work on
 3                                                                          hydrocracker in July.
                                                                            No information on
 4                                                                          effect on production
                                                                            output.
 5

 6        37.      ExxonMobil could have made up the Torrance deficit by using its
 7 tanker to transport fuel from out-of-state or international refineries to California.

 8 But rather than bring badly-needed imports to the market during the height of

 9 Southern California's gasoline price spike and summer driving season, ExxonMobil

10 kept its vessel, the S/R American Progress, in the U.S. Gulf Coast for four months

11 before idling it in Singapore for seventy days. By making its tanker unavailable at a

12 critical time, ExxonMobil ensured that California gasoline supplies were kept short,

13 driving up prices and ExxonMobil's profits.

14        38.      In particular, on May 15, 2015, during the middle of the gas shortage
15 and major price spike in Southern California, the S/R American Progress arrived

16 empty in Los Angeles, California, from the U.S. Gulf.

17        39.      The S/R American Progress is a Jones Act vessel, which makes it one
18 of a select few ships allowed under federal regulations to carry petroleum products
19 between U.S. ports.

20        40.      Such tankers very rarely go to foreign ports, as these trips are a waste of
21 these rare ships' limited resources.      Yet on June 20, 2015, ExxonMobil sent the
22 tanker from Los Angeles all the way to Singapore, where the S/R American Progress

23 idled and roamed aimlessly until August 31, 2015.

24        41.      Singapore is a major international gas hub, where ExxonMobil owns
25 one of the largest refineries in the world—a refinery that produces more than twice

26 as many barrels per day as the largest refinery in California. Moreover, the gasoline
27 ExxonMobil's Singapore refinery produces can be used in California.                     Yet,
28

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 Case 3:18-cv-01374-L-AGS Document 1 Filed 06/21/18 PageID.19 Page 19 of 55




 1 ExxonMobil did not use the S/R American Progress to relieve the Californian

 2 gasoline crises.

 3         42.   Although the S/R American Progress eventually returned to Los
 4 Angeles with a full tank of product, it did not unload its cargo. Instead, the tanker

 5 left Los Angles without unloading and delivered its gas shipment to Florida.

 6         43.   ExxonMobil only imported gasoline when it could no longer buy
 7 gasoline from third parties and was at risk of failing its contractual obligations.

 8 Using a ship called the FPMC 21, ExxonMobil brought gasoline from Singapore to

 9 Los Angeles on August 2, 2015, showing that the company was readily able to

10 resupply the Southern California market during the period its Torrance refinery was

11 down.    Yet ExxonMobil made no effort to import gasoline to make up for lost
12 production.

13         44.   During the time its Torrance refinery was shut down, ExxonMobil
14 imported just twelve million gallons of gasoline, an amount equivalent to only three

15 days of production at the Torrance facility.

16         45.   By contrast, the lost production that resulted from the Torrance
17 shutdown during this period was over 800 million gallons, or 20% of Southern

18 California's refining capacity.
19         46.   As data from the California State Lands Commission show,
20 ExxonMobil purchased gasoline from other California refiners until it was forced to

21 import gasoline to meet contractual obligations, rather than import to resupply the

22 market, as confirmed by the industry news service, Platts.

23         47.   Only three of the thirty-two confirmed gasoline shipments to California
24 during the Torrance shutdown were shipments for ExxonMobil: one shipment in

25 March, one in April, and one in August 2015.

26         48.   During this time ExxonMobil did, however, continue to import other
27 products that it relies on, such as Alkylate. ExxonMobil purchased the gasoline it

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                                            - 18 -
 Case 3:18-cv-01374-L-AGS Document 1 Filed 06/21/18 PageID.20 Page 20 of 55




 1 mixes with Alkylate to provide premium gasoline to the Southern California market

 2 from other companies instead of importing it. As the industry news service Platts

 3 observed, "ExxonMobil has been buying barrels from other refiners and trade houses

 4 to meet its commitments."

 5        49.     ExxonMobil's failure to resupply the California market, when it easily
 6 could have, occurred while other companies like Chevron were exporting gasoline

 7 from California to further diminish supply, suggesting a collusive effort to

 8 manipulate the gasoline market and drive up profits. During the first three quarters

 9 of 2015, for example, Chevron exported six days' worth of California gasoline

10 supply. Although Chevron controls only 28% of the market's refining capacity, it

11 was responsible for 66% of all gasoline and additive exports from California during

12 this period.

13        50.     Similarly, pursuant to the alleged agreement to decrease supplies,
14 refiners in California continued exporting gas products out of the state. As reported

15 by the Daily News on July 27, 2015:

16        On June 25, just one week before many California motorists began
17        paying upwards of $4.30 per gallon for gasoline, the Bahamian-
          flagged tanker Teesta Spirit left Los Angeles headed for ports on the
18        west coast of Mexico carrying more 300,000 barrels of gasoline
19        refined in California. The Teesta Spirit was just one of nine large
          tankers that left California ports carrying gasoline to places like
20
          Mexico and Chile between June 25 and July 23, at a time when oil
21        companies were raising prices by as much as $1 per gallon in some
          regions. Altogether, oil companies like Chevron and Phillips 66
22
          shipped about 100 million gallons (42 gallons per barrel) of gasoline
23        out of California during that time span. The industry explained its
          huge price increases, levied this time primarily in Southern California,
24
          by citing a shortage caused partly by a February explosion that
25        disabled a pollution monitoring unit at Exxon Mobil's refinery in
          Torrance. No one explained why it should take more than five months
26
          to fix that machinery. Executives of the industry's Western States
27        Petroleum Association did not respond to repeated telephone attempts
          to get their explanations for this and for the gasoline exports, which
28

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 Case 3:18-cv-01374-L-AGS Document 1 Filed 06/21/18 PageID.21 Page 21 of 55




 1
         amounted to sending away almost three full days' statewide supply of
         gasoline. As the oil companies were shipping out that fuel, they
 2       reaped unprecedented profits reportedly approaching $1.50 for every
 3
         gallon of gasoline they sold at the higher prices.

 4       Prices, said WSPA President Catherine Reheis-Boyd in a letter
         responding to a previous column that alleged gasoline price gouging,
 5
         are a result of supply and demand.
 6
         This may be true, but there's ample evidence the oil firms she
 7       represents create some of the shortages they cite as a cause of pricing
 8       volatility. It's not just the continued exports and any problems at
         Exxon Mobil in Torrance. They ascribed another price spike earlier
 9       this year to shutdowns at refineries in the Martinez/Benicia area
10       northeast of San Francisco. Labor issues, they said, forced those
         shutdowns. But former employees of one of those plants reported
11       they've been kept open during previous, similar labor disputes and
12       could have stayed open this year, too.

13       Said Reheis-Boyd, "All of the many government investigations ... in
         recent years have concluded that supply and demand are the primary
14
         reason (sic) gas prices go up and down."
15
         Shipping information makes it clear any recent shortage was created
16       at least in part by the companies themselves. Here are some examples:
17       The Atlantic Queen left Long Beach headed for Mexico on June 25
         with a capacity of over 398,000 barrels of gas. The Iver Exact, only
18       slightly smaller, left San Francisco Bay heading for Mexico on June
19       28. The larger Pudu left Long Beach for South and Central America
         on July 7. Several other tanker departures from both Northern and
20       Southern California ports were scheduled through the first week of
21       August. How can the industry claim it has short supplies while it's
         shipping gas to foreign countries?
22
         Why should California residents suffer the pollution produced by
23
         gasoline refineries if the owners of those plants manipulate prices by
24       sending gasoline to foreign users?
25       Said Jamie Court, president of the Consumer Watchdog advocacy
26       group, "Oil refiners have kept the state running on empty and now
         they are sending fuel refined in California abroad just as the specter of
27       low inventories drives huge price increases.
28

                                            - 20 -
 Case 3:18-cv-01374-L-AGS Document 1 Filed 06/21/18 PageID.22 Page 22 of 55




 1        51.    Chevron's actions further suggests a pattern by oil refiners to artificially
 2 constrain gas supplies to California's market and thereby raise prices, as shown by

 3 Consumer Watchdog. Based on documents it obtained pursuant to public records

 4 requests from the California State Lands Commission's shipping records, Consumer

 5 Watchdog found that Chevron exported 250 million gallons of gas, while gas prices

 6 reached $4.20 per gallon in Southern California in the summer of 2015. Consumer

 7 Watchdog's Jaime Court said, "Chevron, during the period we charted last year,

 8 brought only three ships in to make up for about three days of lost capacity at that

 9 one refinery and it's been out 360 days right now. So when you don't make the

10 gasoline you promise and you don't bring ships in to backfill it, it's going to run the

11 inventory levels way down."

12        52.    Consumer Watchdog also reviewed export data and found that between
13 August and September 2015, California's refiners exported over eighty million

14 gallons of refined petroleum products.        In a September 3, 2015 press release,
15 Consumer Watchdog stated:

16        Consumer Watchdog's review of industry data also shows that during
17        the last week six tankers are or have loaded up to 2 days of
          Californians' petroleum supplies at California refineries for foreign
18        export. The capacity of the ships, which are carrying California
19        refined products as opposed to crude oil, totals over 80 million
          gallons, which is two days of the state's fragile gasoline supply.
20

21        Below are the ships that have left California with refined products
          over the last two weeks.
22

23        53.    In December 2014, refineries exported the most gasoline in history.
24 For the month of December 2014, West Coast refiners exported 2.7 million barrels,

25 or 113 million gallons of gasoline. The exports also constituted the most exports in

26 a quarter ever.
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                                             - 21 -
 Case 3:18-cv-01374-L-AGS Document 1 Filed 06/21/18 PageID.23 Page 23 of 55




 1         54.   June 2015 data showed another record export month. Californians paid
 2 $3.6 billion more for their gasoline than the average U.S. motorist, based on the

 3 added pump price from February through May of 2015. "Oil companies created a

 4 shortage by selling abroad, and then shutting down refineries, and have made

 5 billions at the expense of Californians who are paying a huge premium due to the

 6 state's low inventories," Consumer Watchdog's Cody Rosenfield said.

 7         55.   Further indications of an agreement between Defendants are based on
 8 the simultaneous increase of gas prices in February of 2016. "Oil refiners made

 9 billions extra last year because of our pain at the pump and after a short respite the

10 pain is going to continue. What's remarkable is that the four major oil refiners all

11 raised the prices to their branded stations, 75% of the Southern California market, in

12 unison and by nearly the same amount. When four refiners control nearly 80% of

13 the gasoline production" and "75% of the stations in the area this market is rigged

14 for refiners' profit and drivers' pain," Rosenfield stated.

15         56.   In short, during this time period, imports of gasoline to California came
16 to an abrupt halt, while California inventory was declining toward its lowest point,

17 and exports increased, all in a coordinated fashion.

18 Defendants Reap Outsized Profits
19         57.   As succinctly stated by Jamie Court, president of Consumer Watchdog,
20 "California's oil refiners are the only industry in America that make a fortune when

21 their factories break down…. The oil companies are acknowledging to investors

22 that that they have been getting fat off the shutdowns in their own refineries even

23 as they refuse to appear before legislators in Sacramento."

24         58.   Unsurprisingly, the first quarter of 2015 was one of the most profitable
25 for California refiners in recent history. "Despite refiners' claims that their costs

26 were rising, profits per barrel of gasoline in California actually increased by a
27 staggering amount - disputing industry assertions that higher costs were merely

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                                              - 22 -
 Case 3:18-cv-01374-L-AGS Document 1 Filed 06/21/18 PageID.24 Page 24 of 55




 1 being passed to consumers," a June 30, 2015 consumer watchdog publication stated.

 2        59.     In 2015, average refiner margins in California were nearly $1 per gallon
 3 more than double their sixteen-year average margins of $0.48 per gallon. During the

 4 week of July 13, 2015, oil refiners made a record $1.61 per gallon. Although the

 5 price of crude oil in 2015 dropped to more than half of what it was for much of

 6 2014, refiners increased their profit margins, rather than passing on the savings to

 7 consumers.

 8        60.     Tesoro, California's second biggest refiner, shut down its Martinez
 9 refinery in early February and had to buy gasoline on the spot market to fulfill

10 contracts, yet it still made a first quarter 2015 profit of $119 million.      Tesoro's
11 CEO Greg Goff trumpeted this news to investors in a May 8, 2015 conference call:

12 "In California, crack spreads [difference between crude oil costs and wholesale

13 prices] have improved related to the unplanned and planned refinery maintenance

14 activities."   He also noted: "There's no question that during the first quarter with
15 what happened to Tesoro as a result of the disruption at the Martinez refinery

16 because of the labor disruption and then with other operating and planned

17 maintenance things across the whole system, it was very supportive to the margin

18 environment there."
19        61.     Jeff Gustavson, a Chevron general manager made similar comments on
20 May 21, 2015, during an investor call. "Margins increased earnings by $435 million

21 driven by unplanned industry downtime and tight product supply on the US West

22 Coast."

23        62.     For the entire year, Tesoro made $1.9 billion on California refining, its
24 best year ever by over $1 billion. Valero tripled its average profits over the previous

25 five years with its $852 million in California profits in 2015.

26        63.     ExxonMobil, despite having shut down its Torrance refinery for the
27 better part of the 2015 year, nonetheless increased its sales of gasoline in California

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                                             - 23 -
 Case 3:18-cv-01374-L-AGS Document 1 Filed 06/21/18 PageID.25 Page 25 of 55




 1 by nearly 4% compared with 2014. It did so through exchange agreements with its

 2 competitors to use their refineries, including Tesoro, that signaled to the other

 3 refiners that Torrance would not be online for a long period of time. The market,

 4 however, was left in the dark, as ExxonMobil provided misinformation that the

 5 refinery would come back online at various points in the year.

 6        64.   Materials presented on June 30, 2015 by the California Energy
 7 Commission, support the fact that "[r]efinery problems have been significant and

 8 sustained during 2015," and that "[t]hese issues have occurred with a backdrop of

 9 lower-than normal inventory levels." The Commission also noted: "Strong price

10 spikes at refinery wholesale level quickly transferred through to distribution

11 terminals and retail."

12        65.   The following chart shows the low gasoline inventory levels, which
13 can "exacerbate price responses to refinery issues."   Further aggravating the issue,
14 refineries know that running on short supply of California's special California Air

15 Resources Board ("CARB")-complaint gasoline (gasoline with 5.7% ethanol as an

16 oxygenate), which is not generally imported into the state, creates a situation

17 where a substitute is not generally available.      Therefore, when a refinery goes
18 down, gas prices go up and the refineries profit.
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 Case 3:18-cv-01374-L-AGS Document 1 Filed 06/21/18 PageID.26 Page 26 of 55




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17         66.   In 2016, refiners continued to reap outlandish profits in the California
18 market.
19         67.   In August 2016, though the price of gas on California's wholesale market
20 was the lowest in the United States, the state had the highest gasoline prices. The

21
     discrepancy between wholesale and retail prices is the second highest in history
22 following the Great Recession's spread in October 2008:

23
           "If we have the lowest wholesale price for gasoline we should also
24         have the lowest retail price for gasoline," said Jaime Court, founder of
25         Consumer Watchdog. "The fact that we have the lowest wholesale
           price for gasoline and the highest retail price for gasoline means that
26         oil refiners are ripping us off."
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                                             - 25 -
 Case 3:18-cv-01374-L-AGS Document 1 Filed 06/21/18 PageID.27 Page 27 of 55




 1
          Except in October 2008, when the nation was struggling with the great
          recession, the gap between wholesale and retail market prices is the
 2        widest it has been.
 3        "Usually, it's about 80 cents difference between the wholesale and the
 4        street price," said Cody Rosenfeld, a researcher for Consumer
          Watchdog. "But right now in California, we're charging $1.60 more
 5
          per gallon of gasoline than the wholesale price. It's really unheard of.
 6        It's 70 cents more than the usual difference."
 7        68.    Consumer Watchdog attributed the gap to the unprecedented profits
 8 California refineries are reaping in an August 4, 2016 press release:

 9
          Today oil refiner Tesoro reported $332 million in profits from
10        California oil refining during the second quarter. Valero had reported
          $141 million in state oil refining profits during the second quarter,
11
          nearly triple its average quarterly profit of $57 million. These are the
12        only two refiners that report California-only oil refining profits.
13        Consumer Watchdog said the high profits from the state refiners that
14        report them helps to explain the odd, extreme current gap between
          retail and wholesale gasoline prices in the state.
15

16
          Currently, California's wholesale market for gasoline, where oil
          refiners trade gas, is the cheapest in the country, but California drivers
17        have been paying the highest price in the nation for a gallon of
18
          gasoline on the street

19        The price of gas at the pump in California usually costs 88 cents more
          than the price on the wholesale market. Today, drivers are paying
20        $1.58 more than the wholesale market, a windfall for refiners, who are
21        pocketing most of that extra cost.
22        "With all of California's refineries back online, drivers should be
23        paying 70 cents less at the pump," said Consumer Watchdog
          researcher Cody Rosenfield. "There's no shortage. There are no
24        refinery problems. Where are the savings for consumers?" On the
25        California wholesale "spot" market where refiners trade large amounts
          of gasoline, a gallon costs $1.17, the lowest in the country, and 18
26        cents less than in Chicago, due to an overabundance of supply.
27        Despite that, street prices in California are 45 cents more per gallon
          than in Chicago.
28

                                             - 26 -
 Case 3:18-cv-01374-L-AGS Document 1 Filed 06/21/18 PageID.28 Page 28 of 55




 1 The Historical Disconnect Between California and the Rest of the Country's

 2 Gas Prices

 3        69.   An August 19, 2015 article in the Sacramento Bee noted, "California's
 4 current average gasoline price is 98 cents more per gallon than the U.S. average, and

 5 was as much as $1.30 more this year. This gap is unprecedented. Over the 15 years

 6 that data have been collected, the price gap has averaged 28 cents."

 7        70.   The Los Angeles Times' Ivan Penn detailed the record sustained
 8 discrepancy between California's prices and the prices of gasoline outside the state

 9 throughout the U.S., in a June 30, 2016 article:

10
          Gas prices in California typically run higher than the rest of the
11        country due to higher-than-average taxes and fees, requirements to
          produce special low-pollution blends and the relatively small number
12
          of refineries in the state.
13
          But last summer the gap between the Los Angeles area prices and the
14        rest of the country set records.
15
          For instance, California refineries reaped an average of 49.3 cents on
16        a gallon of gasoline from 1999 to 2014, according to the California
17
          Energy Commission. But in summer 2015, the average ballooned to
          88.8 cents, triggered when the refinery troubles in February of that
18        year disabled 7% of the state's capacity at a time of low inventories.
19        Gas prices remain higher than expected, about 68 cents higher in the
20        L.A. area than the rest of the nation.
21        71.   The discrepancy continues to this day. Calling it "California's mystery
22 gasoline surcharge," the San Diego Union Tribune in an April 8, 2018 article

23 explained that "Even after taking into account state gas taxes, blending requirements

24 aimed at reducing air pollution and other environmental and climate fees attached to

25 each gallon of fuel, it appears drivers in the Golden State pay a lot more than they

26 should." Quoting UC Berkeley professor Severin Borenstein, the article explains
27 that the current unexplained surcharge is costing California motorists $12 million a

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                                            - 27 -
 Case 3:18-cv-01374-L-AGS Document 1 Filed 06/21/18 PageID.29 Page 29 of 55




 1 day.

 2 Gas Market in California Is Vulnerable to Manipulation Because of Its
     Structure and Characteristics
 3

 4        72.    In addition to the factual data detailed above, which details
 5 production coordination between some refineries as well as the windfall profits

 6 achieved during the spikes, other characteristics of the market make collusion

 7 particularly attractive in this market. Specifically, the market: (i) has high barriers

 8 to entry; (ii) has inelasticity of demand; and (iii) is highly concentrated.        In
 9 addition, the lack of available information and transparency makes it particularly

10 easy for market participants to collude.

11 High Barriers to Entry

12        73.    A collusive arrangement that raises product prices above competitive
13 levels would, under basic economic principles, attract new entrants seeking to

14 benefit from the supracompetitive pricing. Where there are significant barriers to

15 entry, however, new entrants are less likely to enter the market. Thus, barriers to

16 entry help to facilitate the formation and maintenance of a cartel.

17        74.    There are substantial barriers that preclude, reduce, or make entry more
18 difficult into the gasoline market. A new entrant into the business would face costly
19 and lengthy start-up costs, including multimillion-dollar costs associated with

20 research     and development, manufacturing plants and equipment, energy,
21 transportation, distribution, infrastructure, skilled labor and long-standing customer

22 relationships.

23        75.    In addition to the costs of building a new refinery, given the nature of
24 the product and California's unusual position in the market, any new entrant would

25 have to comply with the various and complex regulations, including environmental

26 regulations, imposed by state and federal agencies.             Compliance with the
27 regulations would require extensive testing and the receipt of            government
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                                              - 28 -
 Case 3:18-cv-01374-L-AGS Document 1 Filed 06/21/18 PageID.30 Page 30 of 55




 1 approvals, all of which would take years.

 2         76.    Barriers to entry have only grown in the years since the U.S. Senate
 3 Majority staff of the Permanent Subcommittee on Investigations issued its report in

 4 2002 (the "Senate Report").

 5 The Demand for Gasoline in California Is Inelastic

 6         77.    "Elasticity" is a term used to describe the sensitivity of supply and
 7 demand to changes in one or the other.             For example, demand is said to be
 8 "elastic," if an increase in the price of a product results in diminished revenues,

 9 with declines in the quantity sold of that product outweighing the effects of higher

10 prices. For products with a highly elastic demand, customers have many feasible

11 alternatives for cheaper products of similar quality, and cut purchases sharply in

12 the face of even small price increases.

13         78.    For a 'cartel' to profit from raising prices above competitive levels,
14 market demand must be relatively less elastic at competitive prices, where an

15 increase in price would result in a net increase in profit. A less elastic demand is a

16 market characteristic that facilitates collusion, by allowing producers to raise their

17 prices without triggering customer substitution and sufficient lost sales revenues in

18 order: to offset the beneficial effect of higher prices on profits for products, they
19 still continue to sell.

20         79.    Gasoline sales are highly inelastic. People and businesses tend to have
21 set driving patterns, and purchase a similar amount of gasoline no matter what the

22 price is.     The Senate Report noted that "demand for gasoline in California is
23 inelastic."

24         80.    Small reductions in the supply of gasoline can create sharp increases in
25 the price per gallon. Information about current or future inventory will have a near

26 immediate effect on price.
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                                             - 29 -
 Case 3:18-cv-01374-L-AGS Document 1 Filed 06/21/18 PageID.31 Page 31 of 55




 1 The Market for Gasoline in California Is Highly Concentrated

 2        81.   The West Coast is an "island" within the North American gasoline
 3 market, because there are no gas pipelines across the Rockies. California itself is a

 4 smaller island within the West Coast because California law mandates a specific

 5 formulation for gas during spring and summer months. There are nineteen refineries

 6 on the West Coast, but ownership is concentrated with major oil companies owning

 7 two or three refineries each. The top two refiners control nearly half of California

 8 capacity, the top four nearly 80%, and Defendants as a whole control over 90%.

 9 This is exactly the type of environment where market power is likely to exist,

10 according to the Western States Petroleum Association.

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 Case 3:18-cv-01374-L-AGS Document 1 Filed 06/21/18 PageID.32 Page 32 of 55




 1        82.     The Senate Report further noted that California is the second largest
 2 gasoline market in the world, following only the United States as a whole.          As
 3 opposed to other markets, the Senate Report noted "[a] small decrease in supply

 4 will produce a large increase in price."           Further, the report noted that the
 5 California refining industry is an oligopoly, where the top two refiners control

 6 nearly half the state's capacity, the top four "refiners owned nearly 80 percent of

 7 California capacity," and the top seven players (all of which are defendants

 8 herein) account for more than 92% of the market.           The Senate Report cites a
 9 number of documents from a lawsuit brought against the refiners in 1996, alleging

10 an anticompetitive scheme by the refiners in retaliation to gasoline meeting the

11 stringent specifications of the CARB.        The Senate Report concluded that the
12 evidence produced in the case showed recognition by a number of the refiners and

13 petroleum industry consultants that the small numbers of large refiners in California

14 possess a significant degree of market power.

15        83.    A document generated by Chevron in 1993 as part of a strategic
16 study, which was produced during discovery in the matter of Aguilar v. Atlantic

17 Richfield Co., No. 700810 (Cal. Super. Ct., San Diego Cnty.), and referred to in

18 the Senate Report, also states that a few large refiners dominate the West Coast,
19 and have a significant effect on the market. The Chevron document contrasts

20 the high returns of the refiners in the West Coast market, with the lower returns of

21 refiners in the Gulf Coast, and attributes the difference, in part, to the concentrated

22 nature of the West Coast market: "USWC market appears to allow better average

23 returns than USGC [Gulf Coast].         The better performers generate [returns on
24 capital employed] greater than 12%....            Market is dominated by a limited
25 number of large, committed refiner/marketers whose individual actions can

26 have significant market impact."
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 Case 3:18-cv-01374-L-AGS Document 1 Filed 06/21/18 PageID.33 Page 33 of 55




 1        84.    Another document relied upon by the Senate in its report was an
 2 "Energy Briefing Note" that was generated in 1996 by the PIRA Energy Group, a

 3 petroleum industry consulting organization, and presented to all of its "retainer

 4 clients," including ExxonMobil, regarding the impact of the introduction of CARB-

 5 compliant gasoline on refining margins.           The Briefing Note reported that the
 6 supply/demand balance in California was likely to be "tight," and would remain so,

 7 partially as a result of the market structure in which a few refiners in the state had

 8 sufficient market power and motivation to maintain prices above marginal costs:

 9        The CARB 2 balance appears to be tight in California. Add in the
10        remoteness of the California market, the unique characteristics of
          CARB 2, the requirement for domestic shippers to use higher cost
11        Jones Act shipping, and the small number of companies involved,
12        all of whom share a motivation to recoup costs and not
          undermine the market. The implication is that prices on average
13
          will do quite a bit more than cover marginal costs, which will mainly
14        comprise the incremental oxygenate cost, although not during the
          extended phase-in period.
15

16        85.    As the Senate Report found, "this PIRA memo presents a classic
17 description of a market failure. In a purely competitive market, prices do not rise

18 above marginal costs, which are the costs of producing an additional unit of the
19 product."

20        86.    The Senate Report, in looking at California, found "the high degree of
21 vertical integration between the refining and marketing sectors raises prices

22 within the state and raises the barriers for others to enter into the market or import

23 gasoline, thus helping to keep the supply/demand balance tight and to sustain

24 higher prices."

25 Opportunity to Collude—Trade Associations

26        87.    Defendants BP West, Chevron, Tesoro, Shell, ExxonMobil, Valero,
27 Phillips, and Alon, and various subsidiaries and defendant-affiliated entities, are all

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 Case 3:18-cv-01374-L-AGS Document 1 Filed 06/21/18 PageID.34 Page 34 of 55




 1 members of an interconnected group of trade associations and organizations

 2 engaged in extensive lobbying and other activities related to the gas market. These

 3 associations, which hold regular meetings, provide numerous opportunities for the

 4 defendants to conspire.

 5        88.     Since the early 1900s, oil and gas companies such as Alon, Chevron,
 6 Phillips, ExxonMobil, Shell, Tesoro, and Valero have been members of industry

 7 trade associations such as the WSPA; American Petroleum Institute ("API");

 8 American Fuel & Petrochemical Manufacturers ("AFPM"); Society of Independent

 9 Gasoline Marketers of America ("SIGMA"); and Petroleum Marketers Association

10 of America ("PMAA"). These trade associations are dominated and controlled by

11 the Defendants, as their representatives, predecessors, and affiliates, and actively

12 participated in the trade associations' management and oversight.    Further, most of
13 the revenue earned by the trade associations comes from membership fees and

14 other payments from Defendants related to research, lobbying, trade shows, and

15 conferences.    While the stated purpose of these trade associations is to ensure that
16 consumers continue to have reliable access to petroleum and petroleum products,

17 Plaintiffs allege certain members of these trade organizations have conspired

18 amongst themselves to use these trade organizations to engage in anticompetitive
19 discussions involving pricing, supply, and production levels.

20        89.     The trade associations provided a mechanism and venue through
21 which the conspiracy was facilitated, implemented, and monitored.         Defendants
22 met regularly prior to, and following the price spikes in May and October 2012, as

23 well as in 2014 through 2016, attending sponsored meetings, conventions, and

24 conferences hosted by these associations.

25        90.     For example, Chevron, Phillips, ExxonMobil, Shell, Tesoro, and
26 Valero are all members of WSPA.          The dates that WSPA held meetings and
27 conferences include, but are not limited to: January 13-14, 2010; October 6, 2010;

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 Case 3:18-cv-01374-L-AGS Document 1 Filed 06/21/18 PageID.35 Page 35 of 55




 1 February 1-3, 2011; October 4-6, 2011; October 2-3, 2012; October 1-2, 2013, and

 2 February 12-13, 2015.

 3        91.   Chevron, Phillips (board member), ExxonMobil (board member), and
 4 Shell are all members of APL. The dates that API held meetings and conferences

 5 include, but are not limited to: April 26-28, 2010; November 15-17, 2010; May 16-

 6 18, 2011; November 14-16, 2011; March 19-23, 2012; November 12-16, 2012;

 7 November 11-13, 2013; April 22-26, 2013; January 9, 2015; February 12, 2015;

 8 March 12, 2015; April 9, 2015; May 19, 2015; June 16, 2015; July 21, 2015;

 9 August 18, 2015; September 15, 2015; October 20, 2015; January 19, 2016;

10 February 16, 2016; March 15, 2016; April 19, 2016; May 17, 2016; June 21, 2016;

11 July 19, 2016; and August 16, 2016.

12        92.   Alon, Chevron, Shell, Tesoro, Phillips, ExxonMobil, and Valero
13 (board member) are all members of AFPM. The dates that AFPM held meetings

14 and conferences include, but are not limited to: March 28-30, 2010; March 27-29,

15 2011; April 2-3, 2012; March 11-13, 2012; March 24-26, 2013; March 17-19,

16 2013; March 23-25, 2014; March 22-24, 2015; and March 13-15, 2016.

17        93.   Alon, Chevron, Shell, Valero, ExxonMobil, and Tesoro are all
18 members of SIGMA.        The dates that SIGMA held meetings and conferences
19 include, but are not limited to: April 29-May 2, 2010; July 19-21, 2010; November

20 12-14, 2010; November 3-6, 2011. In 2014, SIGMA held an Executive Leadership

21 Conference on January 26-29, 2014, along with other conferences throughout the

22 year. In 2015, SIGMA held their Executive Leadership Conference on February 8-

23 11, 2015. SIGMA also advertised their Masters Programs and Field Trips as "One

24 to two day intensive training programs for fuel marketing leaders and executives."

25 Similarly, they described their Share Groups as "One and a half-day subject-focused

26 training, information sharing, and networking programs for employees of fuel
27 marketing businesses."

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 Case 3:18-cv-01374-L-AGS Document 1 Filed 06/21/18 PageID.36 Page 36 of 55




 1        94.   ExxonMobil, Shell, Chevron, and Valero are all members of PMAA.
 2 The dates that PMAA had meetings and conferences include, but are not limited to:

 3 October 4-5, 2010; September 30-October 1, 2011; February 22-24, 2011; February

 4 21-23, 2012; April 15-16, 2014; May 13-15, 2014; July 29-31, 2014; August 6-8,

 5 2014; September 23-24 , 2014; October 6, 7, 7-10, 15, 28-29, 2014; December 5-8,

 6 9-10, 2014; August 5-7, 20-23, 31, 2015; September 8-10, 11-12, 13-16, 15, 16, 20-

 7 22, 21-23, 21-23, 22-23, 28-30, 2015; and October 10-11, 11-14, 21, 27-28, 2015.

 8        95.   Not surprisingly, through various organizations, such as WSPA and
 9 API, Defendants are also active in lobbying efforts related to the gas industry.

10 WSPA and API members recognized their common interests in promoting the

11 interests of the industry as a whole, and collaborated in lobbying regulatory

12 agencies to further such interests. Because members have a convenient forum to

13 consult each other regarding policy positions, they can ensure that they maintain a

14 united stance.

15        96.   For example, the Center for Responsive Politics reported that from
16 2010 through 2013, Phillips spent $48,289,514 for lobbying efforts; Valero spent

17 $2,903,000; Tesoro spent $4,547,287; and ExxonMobil spent $51,570,000.

18 Likewise, API also spent $32,550,000 lobbying the oil and gas industry for the same
19 period.

20 Opportunity to Collude—Information Sharing Services

21        97.   The Defendants have also had ample opportunity to share pricing
22 information with each other. One manner in which Defendants do this is through

23 OPIS, a market price information service whose client list includes most, if not all,

24 of the Defendants, the top 200 oil companies, thousands of distributors, traders,

25 government and commercial buyers and sellers of petroleum products worldwide.

26 OPIS provides real-time and historical spot, wholesale/rack and retail fuel prices for
27 the refined products, renewable fuels, and natural gas and gas liquids (LPG)

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 Case 3:18-cv-01374-L-AGS Document 1 Filed 06/21/18 PageID.37 Page 37 of 55




 1 industries. In addition, OPIS delivers exclusive news and insightful analysis on the

 2 upstream, midstream, and downstream oil markets. OPIS maintains the world's most

 3 comprehensive database of U.S. wholesale petroleum prices, publishing more than

 4 30,000 rack prices each day at over 1,500 terminals, in nearly 400 market locations.

 5 Through OPIS, Defendants are able to share and access real time information about

 6 spot fuel gasoline prices, wholesale rack fuel prices, and retail fuel prices.

 7        98.     Another opportunity Defendants have to collude is through Platts,
 8 another market intelligence company available to all Defendants. Like OPIS, Platts

 9 has a wealth of information about gasoline prices in all steps of the supply chain.

10 More concerning is the "Platts eWindow," which brings an immediacy to Platts price

11 discovery process which cannot be experienced anywhere else. Its real-time trading

12 grid layout provides an enhanced, at-a-glance view of all named bids, offers, and

13 transaction data shared during the Platts Market on Close (MOC) price assessment

14 process.     According to Platts, this system allows Defendants to "monitor market
15 activity – know who is participating and use the information to analyze [their]

16 performance against specific participants or the rest of the market.         The data is
17 available in near real time, allowing you to see developments as they happen" and

18 "gain new levels of market transparency – see all trade data and every unmatched
19 bid and offer."

20        99.     Both Platts and OPIS provide Defendants with sophisticated platforms
21 which enable the Defendants to both share gasoline pricing information, and give the

22 Defendants the ability monitor the market to ensure that the market is not flooded

23 with excess gasoline which might drive down prices.

24 Defendants Have Provided Pretextual Explanations for Their Anticompetitive

25 Conduct

26        100. Throughout the Class Period (as defined herein), the Defendants have
27 provided multiple, pretextual explanations related to their conduct.         As detailed
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                                              - 36 -
 Case 3:18-cv-01374-L-AGS Document 1 Filed 06/21/18 PageID.38 Page 38 of 55




 1 above, a fire at the Cherry Point refinery was blamed for the May 2012 price spike,

 2 even though the length of delay between the decline in product levels and the price

 3 increase was far outside of historical norms. Similarly, when there was a fire at the

 4 Richmond refinery, it was blamed for a spike in August 2012. But supply was not

 5 affected, as the lost production was more than made up by increased production at

 6 other refineries, thus calling into question the purported cause. The public was also

 7 provided with pretextual explanations of supply shortages being the cause of the

 8 October 2012 spikes, but this explanation is also contradicted by the data, because

 9 inventories actually increased up to, and during the price spikes in 2012.       In a
10 competitive market, this should have brought the prices down.

11 Defendants Have Acted Against Their Independent Self-Interest

12        101. Indicative of Defendants' conspiratorial conduct are various actions
13 taken against each individual defendant's economic self-interest. Defendants have

14 acted against their independent economic interest in numerous ways, including by

15 exporting gas out of California including during periods where California's gasoline

16 prices were the highest in the nation. Jones Act vessels have come to California

17 without gasoline or refused to unload their cargo in California, despite the fact that

18 stocks were running low. Furthermore, Defendants have decreased production, i.e.,
19 supply, by going forward with unnecessary maintenance procedures when other

20 refineries were inoperable due to purportedly unplanned outages. Indeed, the CEO

21 of the company that acquired ExxonMobil's Torrance refinery stated that he

22 "personally believe[d]" that "Exxon probably had made a decision that they were not

23 going to run a single refinery operation in the state of California." Furthermore, a

24 number of refineries permitted dangerous conditions at refineries to fester, which

25 predictably materialized into shutdowns resulting in costly supply decreases.

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 Case 3:18-cv-01374-L-AGS Document 1 Filed 06/21/18 PageID.39 Page 39 of 55




 1 Lack of Transparency

 2        102. Analysts have been hamstrung from assessing additional super-
 3 competitive price spikes in the California gasoline market by the lack of public

 4 disclosure of data, including outages and maintenance schedules, among other

 5 matters.

 6        103. The lack of transparency also facilitates collusion, as Consumer
 7 Watchdog explained:

 8        Though the industry is far more consolidated than it was 15 years ago,
 9        another complicating factor is the total lack of industry transparency.
          Refineries keep tight control over data concerning their industry and
10        operations. The California Energy Commission, which is the state's
11        primary energy policy and planning agency, does not release any
          public estimates of days of supply. Indeed, it is not even clear that the
12
          agency has the data necessary to make this calculation with 100
13        percent accuracy.
14        This information would be critical to know in case of a statewide or
15        national disaster. No real time collection of data exists. The EIA's
          inventory data is three months behind, and this federal agency does
16        not keep track of current days of supply. No federal or state agency
17        maintains centralized information on current or historical refinery
          status whether a refinery is closed, for how long, whether the refinery
18        had an accident, how much of its capacity the refinery is utilizing, and
19        how big its gas reserves are on hand. Thus the public remains in the
          dark on refinery operations, and traders can run up the price of gas
20        more easily on mere speculation.
21        104. At the same time, refineries keep tight control over data concerning
22 their industry and operations.    The California Energy Commission, which is the
23 state's primary energy policy and planning agency, does not release any public

24 estimates of days of supply.     No real-time collection of data exists. The EIA's
25 inventory data is three months behind, and this federal agency does not keep track of

26 current days of supply. No federal or state agency maintains centralized information
27 on current or historical refinery status, whether a refinery is closed, for how long, if

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                                             - 38 -
 Case 3:18-cv-01374-L-AGS Document 1 Filed 06/21/18 PageID.40 Page 40 of 55




 1 they had an accident, how much capacity is being utilized, and how big gas reserves

 2 are. Thus, the public remains in the dark on refinery operations. Defendants are

 3 able to take advantage of the dearth of information on refinery operations, thus

 4 allowing prices to be run up on mere speculation and misinformation. By contrast,

 5 refiners are well aware of this information through exchange agreements, which are

 6 agreements that allow refiners to exchange petroleum products with other refiners at

 7 an agreed rate of exchange.      Through such agreements, refiners acquire refined
 8 products to supplement supply to their customers when they are short on supply.

 9 The exchange agreements signal to the other refiners the amount of time a refinery

10 will be offline. This type of signaling is a recognized plus factor.

11        105. Bob van der Valk, senior editor of the Bakken Oil Business Journal,
12 reached a similar conclusion, "[w]e have an ill-equipped market, so it is prime to be

13 manipulated and it is being manipulated."

14 Investigations

15        106. Senators and representatives have urged the government to delve into
16 the price spikes over the years. For example,

17        107. Senator Dianne Feinstein also wrote to the Federal Trade Commission
18 ("FTC") requesting an investigation. Senator Feinstein expressed concern that the
19 FTC had failed "to take action to protect California consumers from malicious

20 trading schemes in the California gasoline market." She requested that the FTC

21 "open an immediate investigation into price spikes in California, to begin collecting

22 relevant data on California's gasoline markets, and to establish a permanent market

23 monitoring team." She also requested that the "FTC immediately seek data sharing

24 agreements that will allow it to monitor gasoline and oil markets actively and

25 effectively. Data on prices, trading activity, refinery output, demand, stocks, and

26 other information are vital to determine if trading activities reflect fraud,
27 manipulation, or other malicious trading practices."

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 Case 3:18-cv-01374-L-AGS Document 1 Filed 06/21/18 PageID.41 Page 41 of 55




 1        108. Senator Feinstein closed her letter with a call for serious and aggressive
 2 enforcement: "California's consumers are all too familiar with energy price spikes

 3 which cannot be explained by market fundamentals, and which turn out years later

 4 to have been the result of malicious and manipulative trading activity.... I call on

 5 the FTC to act immediately and aggressively to protect California's consumers."

 6 To date, while it is believed investigations are ongoing, no action has been taken

 7 regarding the May and October 2012 spikes, despite significant evidence that the

 8 price spikes were the result of manipulative and collusive conduct by Defendants.

 9        109. Then, following the issuance of the McCullough Report, Congressman
10 Peter DeFazio of (D. Or.) on November 19, 2012, wrote to then Attorney General

11 Eric Holder, calling the lack of progress on an investigation into high West Coast

12 gas prices "intolerable." Congressman Defazio noted in the letter that he had written

13 "to the so-called Gas Price Fraud Working Group calling for an investigation.

14 Nothing happened.       I wrote to the president and raised the issue of market
15 manipulation by California refineries.     Nothing. It's time for the Department of
16 Justice to step up and do what they are supposed to do: crack down on, or at least

17 investigate, illegal energy market activity."

18        110. Congressman DeFazio continued: "Basically, this independent research
19 shows that California refineries were misleading the public. Refinery outages and

20 maintenance shutdowns just provided a convenient excuse and explanation for

21 'declining' gas production so they could jack up the price of refined gasoline....

22 Hugely profitable oil companies who continue to look for every opportunity to rip

23 off American drivers need to be held accountable for their blatant market

24 manipulation. Enough is enough. Serious action is needed now."

25        111. Congressman DeFazio's letter further claimed "these devastatingly
26 high gas prices on the West Coast appear to be a result of market abuses by a
27 handful of California refineries - not the 'dynamics of supply and demand' as the

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                                             - 40 -
 Case 3:18-cv-01374-L-AGS Document 1 Filed 06/21/18 PageID.42 Page 42 of 55




 1 oil and gas industry has facetiously claimed for decades while laughing all the way

 2 to the bank."      The Congressman further noted: "The behavior of California
 3 refineries over the last six months has been suspicious at best and malicious at

 4 worst."

 5        112. In April 2011, then Attorney General Holder announced the creation of
 6 the Oil and Gas Price Fraud Working Group ("Working Group") "to help identify

 7 civil or criminal violations in the oil and gasoline markets, and to ensure that

 8 American consumers are not harmed by unlawful conduct."

 9        113. The Working Group was cochaired by the Commodities Futures
10 Trading Commission, Federal Trade Commission, and the National Association of

11 Attorney Generals. Other Working Group members include the Department of the

12 Treasury, the Federal Reserve Board, the Securities and Exchange Commission, the

13 Department of Justice's Criminal Division, Civil Division, and Antitrust Division,

14 the Federal Bureau of Investigations, the United States Attorney's Office for the

15 Western District of New York, the Executive Office for United States Attorneys, as

16 well as the Departments of Agriculture and Energy.

17        114. When the Working Group was formed, the intention was to explore
18 whether there was any evidence of manipulation of oil and gas prices, collusion,
19 fraud, or misrepresentations at the retail or wholesale levels that would violate state

20 or federal laws. The working group also explored whether consumers or the federal

21 government as a purchaser of oil and gas were harmed, and to evaluate

22 developments in commodities markets, including an examination of investor

23 practices, supply and demand factors, and the role of speculators and index traders in

24 oil futures markets.

25        115. To date, the Working Group has issued no reports regarding the May
26 and October 2015 price spikes, although it is believed that based on calls to action
27 by members of Congress, an investigation is ongoing.

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                                            - 41 -
 Case 3:18-cv-01374-L-AGS Document 1 Filed 06/21/18 PageID.43 Page 43 of 55




 1
     California's Rules Regarding Gasoline Formation Is Not Responsible for the
     Sustained Supracompetitive Pricing
 2
           116. On August 16, 2016, Edie Chang, Deputy Executive Officer of the
 3
     CARB, detailed the following reasons why California's reformulated gasoline
 4
     requirements do not explain the price spikes in 2015:
 5

 6         CARB does not believe the California Reformulated Gasoline
           (CaRFG) rule was a significant factor in the recent gasoline price
 7         spike:
 8
              • CaRFG regulations have remained unchanged since 2012;
 9
              • Prior supply disruptions and associated price increases (under the
10            same CaRFG rules) have been much shorter in duration;
11
              • There is significant global refining capacity that can make
12            California Reformulated Gasoline Blendstock for Oxygenate
              Blending (CARBOB);
13

14            • California refiners routinely assert that the State's refineries have
              excess gasoline production capacity and that the industry is highly
15            exposed to import competition if compliance costs under AB 32
16            become too great; and
17            • Like the PMAC we are concerned with the length and magnitude
18
              of the California vs. national gasoline price differentials that have
              occurred since early 2015, but we have yet to see convincing
19            evidence that the proposed mechanism is an appropriate way to
20
              address price differentials.
                              JURISDICTION AND VENUE
21

22         117. This Court has both personal and subject matter jurisdiction over this
23 case, pursuant to 28 U.S.C. §1332(d) and the Class Action Fairness Act of 2005

24 ("CAFA"), 28 U.S.C. §1711, et seq., which vests original jurisdiction in the district

25 courts of the United States for any class action where the aggregate amount in

26 controversy exceeds $5 million and where the citizenship of any member of the class
27 of plaintiffs is different from that of any defendant.       The $5 million amount in
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                                              - 42 -
 Case 3:18-cv-01374-L-AGS Document 1 Filed 06/21/18 PageID.44 Page 44 of 55




 1 controversy and diverse-citizenship requirements of CAFA are satisfied in this case.

 2         118. Venue is proper in this District because a substantial part of the events
 3 giving rise to Plaintiffs' claims occurred in this District, a substantial portion of the

 4 affected trade and commerce discussed below has been carried out in this District,

 5 and one or more of the Defendants resides in, is licensed to do business in, is doing

 6 business in, had agents in, or is found or transacts business in, this District.

 7         119. This Court has personal jurisdiction over each of the Defendants
 8 because, inter alia, each of the Defendants: (i) transacted business in this District;

 9 (ii) provided services in this District; (iii) had substantial contacts with this District;

10 and/or (iv) was engaged in an illegal conspiracy that was directed at, and had the

11 intended effect of causing injury to persons residing in, located in, or doing business

12 in this District.

13         120. The anticompetitive conduct, and its effects on California commerce
14 described herein, proximately caused antitrust injury to Plaintiffs and members of

15 the Class.

16         121. By reason of the unlawful activities alleged herein, Defendants
17 substantially affected commerce in California, causing injury to Plaintiffs and

18 members of the Class.
19         122. Defendants' conspiracy and wrongdoing described herein adversely
20 affected persons in California, including Plaintiffs and members of the Class.

21         123. Many of the unlawful acts occurred in California and, more
22 particularly, in San Diego County.       Plaintiffs are all residents of San Diego. In
23 addition, all Defendants do business in San Diego County, and venue is therefore

24 proper in the Southern District of California.

25                                         PARTIES
26         124. Plaintiff Richard Bartlett is a San Diego, California, resident. During
27 the Class Period, Plaintiff Bartlett purchased gasoline in San Diego that was

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                                              - 43 -
 Case 3:18-cv-01374-L-AGS Document 1 Filed 06/21/18 PageID.45 Page 45 of 55




 1 processed by one or more of the Defendants' refineries. Plaintiff Bartlett paid more

 2 than he would have, absent Defendants' illegal actions.

 3        125. Plaintiff Kristine Snyder is a San Diego, California, resident. During
 4 the Class Period, Plaintiff Snyder purchased gasoline in San Diego that was

 5 processed by one or more of the Defendants' refineries. Plaintiff Snyder paid more

 6 than she would have, absent Defendants' illegal actions.

 7        126. Defendant BP West is a Delaware limited liability company with
 8 principal executive offices located at 4519 Grandview Road, Blaine, Washington.

 9 Defendant BP West owns and operates a network of gas and fueling stations in

10 California, Oregon, Washington, Nevada, and Arizona. During the Class Period,

11 defendant BP West operated a 650 acre refinery in Carson, California, with a crude

12 oil distillation capacity of 266,000 barrels per day. Defendant BP West operates as a

13 subsidiary of BP p.l.c.

14        127. Defendant Chevron is a Pennsylvania corporation with principal
15 executive offices located at 6001 Bollinger Canyon Road, San Ramon, California.

16 Defendant Chevron explores, extracts, and produces crude oil, natural gas, and

17 natural gas liquids.      Defendant Chevron also refines, markets, and distributes
18 products derived from petroleum other than natural gas liquids. Defendant Chevron
19 was formerly known as Gulf Oil Corporation.       Defendant Chevron operates as a
20 subsidiary of Chevron Corporation.        Defendant Chevron operates refineries in
21 Richmond and El Segundo, California.          According to defendant Chevron, its
22 Richmond refinery processes approximately 250,000 barrels of crude oil per day and

23 produces gasoline that fuels roughly 20% of the cars driven on Northern California

24 roads, and its El Segundo refinery typically processes 235,000 barrels of crude oil

25 per day and has 20% of the gasoline market share in Southern California.

26        128. Defendant Tesoro is a Delaware limited liability company with
27 principal executive offices located at 19100 Ridgewood Parkway, San Antonio,

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                                            - 44 -
 Case 3:18-cv-01374-L-AGS Document 1 Filed 06/21/18 PageID.46 Page 46 of 55




 1 Texas.    Defendant Tesoro offers refining and marketing of motor fuels and
 2 petroleum products. Defendant Tesoro was formerly known as Tesoro West Coast

 3 Company, LLC and changed its name to Tesoro Refining & Marketing Company

 4 LLC in January 2002.       Defendant Tesoro, incorporated in 1996, operates as a
 5 subsidiary of Andeavor (f/k/a Tesoro Corporation).         Defendant Tesoro operates
 6 refineries in Los Angeles and Martinez, California. According to Tesoro, its Los

 7 Angeles refinery is the largest refinery on the West Coast of the Unites States.

 8        129. Defendant Shell is a Delaware limited liability company with principal
 9 executive offices located at 150 N. Dairy Ashford, Houston, Texas. Defendant Shell

10 operates refineries and crude oil pipelines in the western United States. Defendant

11 Shell also operates a network of gasoline stations in the United States. Defendant

12 Shell's Martinez refinery has been in operation since 1915. Defendant Shell is a

13 wholly-owned subsidiary of Royal Dutch Shell plc.

14        130. Defendant ExxonMobil is a New Jersey corporation with principal
15 executive offices located at 5959 Las Colinas Boulevard, Irving, Texas. Defendant

16 ExxonMobil operates as a subsidiary of ExxonMobil Corporation.              Defendant
17 ExxonMobil's Torrance refinery covers 750 acres, employs approximately 650

18 employees and 550 contractors, processes an average of 155,000 barrels of crude oil
19 per day, and produces 1.8 billion gallons of gasoline per year. During the Class

20 Period, the Torrance facility regularly provided 10% of California's gasoline

21 capacity and 20% of the capacity in Southern California.

22        131. Defendant Valero is a Delaware corporation with principal executive
23 offices located at One Valero Way, San Antonio, Texas. Defendant Valero refines

24 and markets crude oil in the United States and internationally. Defendant Valero's

25 activities include refining operations, wholesale marketing, product supply and

26 distribution, and transportation operations primarily in the Gulf Coast, Mid-
27 Continent, West Coast, and northeast regions.

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                                            - 45 -
 Case 3:18-cv-01374-L-AGS Document 1 Filed 06/21/18 PageID.47 Page 47 of 55




 1        132. Defendant Phillips is a Delaware corporation with principal executive
 2 offices located at 600 N. Dairy Ashford, Houston, Texas. During the Class Period,

 3 defendant Phillips operated a San Francisco refinery that was comprised of two

 4 facilities linked by a 200-mile pipeline: the Santa Maria facility, located in Arroyo

 5 Grande, California, and the Rodeo facility, located in the San Francisco Bay Area.

 6        133. Defendant Alon is a Delaware corporation with principal executive
 7 offices located at 12700 Park Central Drive, Dallas, Texas.           Defendant Alon is
 8 refiner and marketer of petroleum products, operating primarily in the South Central,

 9 Southwestern, and Western regions of the United States. Alon's Bakersfield refinery

10 has a capacity of 70,000 barrels a day and comprises over 600 acres of land. In July

11 2017, defendant Alon was acquired by Delek US Holdings, Inc. ("Delek") and is

12 now Delek's wholly-owned subsidiary.

13        134. Each of the Defendants is a participant in the California gasoline
14 refinery market.

15        135. The true names and capacities of defendants sued herein under
16 California Code of Civil Procedure section 474 as Does 1 through 25, inclusive, are

17 presently not known to Plaintiffs, who therefore sue these defendants by such

18 fictitious names. Plaintiffs will seek to amend this Complaint and include these Doe
19 defendants' true names and capacities when they are ascertained.             Each of the
20 fictitiously named defendants is responsible in some manner for the conduct alleged

21 herein and for the injuries suffered by the Class.

22                                CLASS ALLEGATIONS
23        136. Plaintiffs bring this action as a class action pursuant to Rules 23(a),
24 (b)(2), and b(3) of the Federal Rules of Civil Procedure on behalf of all Class Members.

25 The Class is defined as:

26        All persons or entities that purchased or paid the retail price for gasoline
          for consumption by themselves, their families, or their members,
27
          employees, or insured in California that was refined or produced by a
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                                              - 46 -
 Case 3:18-cv-01374-L-AGS Document 1 Filed 06/21/18 PageID.48 Page 48 of 55




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            defendant during the Class Period (February 1, 2012 to present) and
            were damaged thereby. Excluded from the Class are defendants, their
 2          parent companies, subsidiaries, and affiliates, any coconspirators,
 3
            governmental entities, and instrumentalities of the government, states,
            and their subdivisions, agencies, and instrumentalities.
 4

 5          137. The Class is ascertainable and is one for which records should readily
 6 exist.

 7          138. Plaintiffs do not know the exact size of the Class, but because the nature
 8 of the trade and commerce involved, Plaintiffs believe that there are millions of Class

 9 members as above described, the exact number and their identities is not presently

10 known, but can be determined through appropriate discovery.

11          139. There is a well-defined community of interest among Plaintiffs and the
12 members of the Class.        Because Defendants have acted in a manner generally
13 applicable to the Class, questions of law and fact common to members of the Class

14 predominate over questions, if any, that may affect only individual members of the

15 Class.    Such generally applicable conduct is inherent in Defendants' wrongful and
16 anticompetitive conduct.

17          140. There are questions of law and fact common to the Class, including:
18                (a)   whether Defendants and their coconspirators engaged in an
19 agreement, combination, or conspiracy to fix, raise, elevate, maintain, or stabilize

20 prices of gasoline in California;

21                (b)   the identity of the participants of the alleged conspiracy;
22                (c)   the duration of the conspiracy alleged herein and the acts
23 performed by Defendants and their coconspirators in furtherance of the conspiracy;

24                (d)   whether Defendants violated the Cartwright Act;
25                (e)   whether Defendants violated the UCL;
26                (f)   whether the conduct of Defendants and their coconspirators, as
27 alleged in this Complaint, caused injury to the business or property of Plaintiffs and

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                                              - 47 -
 Case 3:18-cv-01374-L-AGS Document 1 Filed 06/21/18 PageID.49 Page 49 of 55




 1 the other members of the Class;

 2               (g)    the effect of Defendants' alleged conspiracy on the prices of
 3 gasoline in California during the Class Period;

 4               (h)    the appropriate Class-wide measure of damages; and
 5               (i)    the appropriate nature of Class-wide injunctive or other
 6 equitable relief.

 7        141. There are no defenses of a unique nature that may be asserted against any
 8 Plaintiff individually, as distinguished from the other members of the Class, and the

 9 relief sought is common to the Class.

10        142. Plaintiffs are members of the Class and their claims are typical of the
11 claims of the other members of the Class.           Plaintiffs were damaged by the same
12 wrongful conduct of Defendants.

13        143. Plaintiffs will fairly and adequately protect the interests of other Class
14 members because they have no interests that are antagonistic to, or that conflict with,

15 those of any other Class member. Rather, Plaintiffs' interests are coincident with those

16 of the other members of the Class.

17        144. Plaintiffs are committed to the vigorous prosecution of this action and
18 have retained competent counsel, experienced in litigation of this nature, to represent
19 them and the other members of the Class.

20        145. A class action is the superior method for the fair and efficient adjudication
21 of this controversy. Class treatment will enable a large number of similarly situated

22 parties to prosecute their claims in a single forum simultaneously, efficiently, and

23 without the unnecessary duplication of evidence, effort, and expense that would result if

24 individual actions were pursued.

25        146. This case is also manageable as a class action. Plaintiffs know of no
26 difficulty to be encountered in the prosecution of this action that would preclude its
27 maintenance as a class action.

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                                              - 48 -
 Case 3:18-cv-01374-L-AGS Document 1 Filed 06/21/18 PageID.50 Page 50 of 55




 1        147. Defendants' unlawful acts alleged in this Complaint had a substantial
 2 effect on commerce and caused antitrust injury to Plaintiffs and the Class.

 3        148. Defendants' unlawful acts had the purpose and effect of manipulating the
 4 price of gasoline sold in California.

 5        149. As a direct result of Defendants' violations, Plaintiffs and the members of
 6 the Class have been damaged in their property or business.

 7        150. As a direct and foreseeable result of Defendants' unlawful anticompetitive
 8 acts, the price of gasoline sold in California was manipulated and inflated.

 9           ANTICOMPETITIVE CONDUCT BY THE DEFENDANTS
10        151. Defendants are horizontal competitors.
11        152. The conspiracy consisted of a continuing agreement, understanding, or
12 concerted action between and among Defendants and their coconspirators in

13 furtherance of which Defendants fixed, maintained, or made artificial prices for

14 gasoline sold in California during the Class Period.            Defendants' conspiracy
15 constitutes a per se violation of the Cartwright Act and is an unreasonable and

16 unlawful restraint of trade and an unlawful, unfair, or fraudulent practice under the

17 UCL.

18        153. At all relevant times, other corporations, individuals, and entities
19 willingly conspired with Defendants in their unlawful and illegal conduct.

20 Numerous individuals and entities participated actively during the course of and in

21 furtherance of the scheme described herein. The individuals and entities acted in

22 concert by joint ventures and by acting as agents for principals, in order to advance

23 the objectives of the scheme to benefit Defendants and themselves through the

24 manipulation of gasoline prices in California.

25                        PLAINTIFFS' CLAIMS ARE TIMELY
26        154. Plaintiffs bring their claims within the statute of limitations.
27        155. Even though Plaintiffs' claims are timely, facts indicating Defendants
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                                             - 49 -
 Case 3:18-cv-01374-L-AGS Document 1 Filed 06/21/18 PageID.51 Page 51 of 55




 1 were engaging in misconduct that caused gasoline prices in California to be

 2 artificially manipulated were actively concealed by Defendants.

 3        PLAINTIFFS AND THE CLASS SUFFERED ANTITRUST INJURY
 4         156. Plaintiffs have suffered significant injury as a result of Defendants'
 5 gasoline price manipulation conspiracy.

 6         157. Defendants' price-fixing conspiracy had the following effects, among
 7 others: (i) price competition has been restrained or eliminated with respect to gasoline

 8 sold in California; (ii) the price of gasoline sold in California has been fixed, raised,

 9 maintained, or stabilized at artificially inflated levels; and (iii) purchasers of gasoline

10 sold in California have been deprived of free and open competition. During the Class

11 Period, Plaintiffs and the members of the Class paid supracompetitive prices for

12 gasoline sold in California.

13         158. By reason of the alleged violations of California laws, Plaintiffs and the
14 members of the Class have sustained injury to their businesses or property, having paid

15 higher prices for gasoline sold in California than they would have paid in the absence of

16 Defendants' illegal contract, combination, or conspiracy, and, as a result, have suffered

17 damages in an amount presently undetermined. This is an antitrust injury of the type

18 that the antitrust laws were meant to punish and prevent.
19         159. In formulating and effectuating the contract, combination, or conspiracy,
20 Defendants and their coconspirators engaged in anticompetitive activities, the purpose

21 and effect of which were to fix, maintain, suppress, inflate, and otherwise make

22 artificial the price of gasoline sold in California.

23         160. Plaintiffs suffered antitrust injury in that they paid more for gasoline than
24 they would have paid had the manipulation not occurred.

25         161. Injury to Plaintiffs and the Class also resulted from Defendants'
26 deprivation of the benefits of free and open competition in the market for gasoline sales.
27         162. Plaintiffs suffered antitrust injury as a result of Defendants' actions.
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                                                - 50 -
 Case 3:18-cv-01374-L-AGS Document 1 Filed 06/21/18 PageID.52 Page 52 of 55




 1                                        COUNT I
 2                            Violations of the Cartwright Act
 3        163. Plaintiffs incorporate by reference and reallege each and every
 4 allegation contained above, as though fully set forth herein.

 5        164. The acts and practices detailed above violate the Cartwright Act, Cal. Bus.
 6 & Prof. Code §16700, et seq.

 7        165. It is appropriate to bring this action under the Cartwright Act because
 8 many of the illegal agreements were made in California, the purchasers reside in

 9 California, the refineries at issue are in the state and because other overt acts in

10 furtherance of the conspiracy and overcharges flowing from those acts occurred in

11 California, and the Class purchased gasoline in California.

12        166. As detailed above, the anticompetitive conduct described constitutes a per
13 se violation of California's antitrust laws and is an unreasonable and unlawful restraint

14 of trade.    The anticompetitive effects of Defendants' conduct far outweigh any
15 purported nonpretextual, procompetitive justification.

16        167. As a proximate result of Defendants' unlawful conduct, Plaintiffs and the
17 members of the Class they seek to represent have been injured in their business or

18 property in violation of the Cartwright Act, Cal. Bus. & Prof. Code §16700, et seq., by
19 paying supracompetitive prices for gasoline during the Class Period. Such overcharges

20 are the type of injury the antitrust laws were designed to prevent and flow directly from

21 Defendants' unlawful conduct. Plaintiffs and members of the Class are proper entities

22 to bring a case concerning this conduct.

23        168. Plaintiffs and members of the Class have standing to and hereby seek
24 monetary relief, including treble damages, together with other relief, as well as

25 attorneys' fees and costs, as redress for Defendants' Cartwright Act violations.

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                                              - 51 -
 Case 3:18-cv-01374-L-AGS Document 1 Filed 06/21/18 PageID.53 Page 53 of 55




 1                                        COUNT II
 2                       Violations of the Unfair Competition Law
 3         169. Plaintiffs incorporate by reference and reallege each and every
 4 allegation contained above, as though fully set forth herein.

 5         170. Plaintiffs bring this claim under sections 17203 and 17204 of the Cal. Bus.
 6 & Prof. Code to enjoin, and obtain restitution and disgorgement of all monetary gains

 7 that resulted from acts that violated section 17200 of the Cal. Bus. & Prof. Code,

 8 commonly known as the UCL.

 9         171. Plaintiffs and the members of the Class have standing to bring this action
10 under the UCL because they have been harmed and have suffered injury by being

11 forced to pay inflated, supracompetitive prices for gasoline sold in California during the

12 Class Period.

13         172. In formulating and carrying out the alleged agreement, understanding, and
14 conspiracy, Defendants and their coconspirators did those things that they combined

15 and conspired to do, including, but not limited to, the acts, practices, and course of

16 conduct set forth herein, and these acts constitute unfair competition in violation of the

17 UCL.

18         173. Defendants' conspiracy had the following effects, among others: (i) price
19 competition in the market for gasoline sold in California during the Class Period was

20 restrained, suppressed, and/or eliminated; (ii) prices for gasoline sold in California

21 during the Class Period sold by Defendants and their coconspirators have been fixed,

22 raised, maintained, and stabilized at artificially high, noncompetitive levels; and (iii)

23 Plaintiffs and members of the Class who purchased gasoline sold in California during

24 the Class Period directly from Defendants have been deprived of the benefits of free

25 and open competition.

26         174. As a direct and proximate result of Defendants' anticompetitive conduct,
27 Plaintiff and members of the Class have been injured in their business or property by

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                                              - 52 -
 Case 3:18-cv-01374-L-AGS Document 1 Filed 06/21/18 PageID.54 Page 54 of 55




 1 paying more for gasoline sold in California during the Class Period purchased directly

 2 from Defendants than they would have paid the absence of the conspiracy.

 3          175. The    anticompetitive   behavior,       as   described   above,   is   unfair,
 4 unconscionable, unlawful, and fraudulent, and in any event it is a violation of the policy

 5 or spirit of the UCL.

 6                                PRAYER FOR RELIEF
 7          WHEREFORE, Plaintiffs, on behalf of themselves and the Class, pray that the
 8 Court:

 9        A.      Determine that this action may be maintained as a class action pursuant
10 to Fed. R. Civ. P. 23(a), (b)(2), and (b)(3), and direct that reasonable notice of this

11 action, as provided by Fed. R. Civ. P. 23(c)(2) be given to the Class, and declare

12 that the Plaintiffs are representative of the Class;

13        B.      Enter joint and several judgments against Defendants and in favor of
14 Plaintiffs and the Class, awarding them damages as a result of Defendants' unlawful

15 conduct alleged in this Complaint, plus treble damages and all other available

16 damages, including any statutory or liquidated damages or otherwise;

17        C.      Award to Plaintiffs and the Class their costs of suit, including
18 reasonable attorneys' and experts' fees and expenses;
19        D.      Order that Defendants, their directors, officers, employees, agents,
20 successors, members, and all persons in active concert and participation with them

21 be enjoined and restrained from, in any manner, directly or indirectly, committing

22 any additional violations of the law as alleged herein; and

23        E.      Award any other and further relief as the Court may deem just and
24 proper.

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 Case 3:18-cv-01374-L-AGS Document 1 Filed 06/21/18 PageID.55 Page 55 of 55




 1                                        JURY DEMAND
 2             Plaintiffs respectfully demand a trial by jury on all issues so triable.
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